                   Case 23-10831-MFW                Doc 947        Filed 02/02/24         Page 1 of 5




                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE


In re:                                                         Chapter 11

Lordstown Motors Corp., et al.,1                               Case No. 23-10831 (MFW)

                                    Debtor.                    (Jointly Administered)

                                                               Docket Nos. 668, 696 & 699

  CERTIFICATION OF COUNSEL REGARDING STIPULATION BETWEEN DEBTORS,
   OHIO SECURITIES LITIGATION LEAD PLAINTIFF, OFFICIAL COMMITTEE OF
   UNSECURED CREDITORS, AND OFFICIAL COMMITTEE OF EQUITY SECURITY
    HOLDERS REGARDING OHIO SECURITIES LITIGATION LEAD PLAINTIFF’S
      MOTION TO APPLY BANKRUPTCY RULE 7023 TO CLASS CLAIMS AND
        PROOFS OF CLAIM NUMBERS 1368, 1379, 1380, 1394, 1426, AND 1434

                    The undersigned counsel to the above-captioned debtors and debtors-in-possession

  (the “Debtors”) hereby certifies as follows regarding the Stipulation Between Debtors, Ohio

  Securities Litigation Lead Plaintiff, Official Committee of Unsecured Creditors, and Official

  Committee of Equity Security Holders Regarding Ohio Securities Litigation Lead Plaintiff’s Motion

  to Apply Bankruptcy Rule 7023 to Class Claims and Proofs of Claim Numbers 1368, 1379, 1380,

  1426, and 1434 (the “Stipulation”)2 attached as Exhibit 1 to the proposed order (the “Proposed

  Order”) attached hereto as Exhibit A.

           The (i) Debtors, (ii) George Troicky (“Ohio Securities Litigation Lead Plaintiff”), the

  court-appointed lead plaintiff in the securities class action captioned In re Lordstown Motors Corp.

  Securities Litigation, Case No. 4:21-cv00616 (DAR) (the “Ohio Securities Litigation”), pending in

  the United States District Court for the Northern District of Ohio (the “District Court”), for himself


  1
           The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown Motors
  Corp. (3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’ service address is
  27000 Hills Tech Ct., Farmington Hills, MI 48331.
  2
           Capitalized terms not otherwise defined herein shall have the meaning ascribed to them in the Stipulation or the
  Plan (defined below).
              Case 23-10831-MFW          Doc 947     Filed 02/02/24     Page 2 of 5




and on behalf of the putative class (the “Ohio Settlement Class”) that he represents in the Ohio

Securities Litigation, (iii) the Official Committee of Unsecured Creditors appointed in the chapter

11 cases (the “UCC”), and (iv) the Official Committee of Equity Security Holders appointed in the

chapter 11 cases (the “EC,” collectively, with the Debtors, the Ohio Settlement Class, and the UCC,

the “Parties”) entered into the Stipulation on February 1, 2024.

       Pursuant to and as more fully set forth in the Stipulation, the Parties entered into the

Stipulation in connection with and to facilitate a settlement (the “Ohio Securities Litigation

Settlement”) of the Ohio Securities Litigation Lead Plaintiffs’ claims against the Debtors asserted

on behalf of the putative class in the Ohio Securities Litigation. The Ohio Securities Litigation

Settlement is incorporated into the Second Modified First Amended Joint Chapter 11 Plan of

Lordstown Motors Corp. and Its Affiliated Debtors [Docket No. 941] (the “Plan”) filed on

January 31, 2024. In furtherance of the Ohio Securities Litigation Settlement, the Stipulation

resolves the Lead Plaintiff’s Motion To Apply Bankruptcy Rule 7023 To Class Claims [Docket No.

668], and the objections of the Debtors and the EC thereto [Docket Nos. 696 & 699], by providing

for certification of the class in the Ohio Securities Litigation (for settlement purposes only),

appointing the Ohio Securities Litigation Lead Plaintiff as class representative, and appointing

Labaton Keller Sucharow LLP as class counsel. The Stipulation further provides for the allowance,

in the amount of $10 million (the “Allowed Claim”), of one proof of claim filed by the Ohio

Securities Litigation Lead Plaintiff, which claim shall be satisfied by the proposed treatment

provided to Ohio Securities Litigation Claims (Class 10) under the Plan. The amount of the Allowed

Claim is without prejudice to and will not be binding in the Ohio Securities Litigation with respect

to the claims against any non-debtor defendant named therein other than a non-Debtor released

pursuant to the terms of the Plan when confirmed. The Debtors and the Ohio Securities Litigation

                                                 2
               Case 23-10831-MFW          Doc 947     Filed 02/02/24      Page 3 of 5




Lead Plaintiff intend to seek preliminary approval of the Ohio Securities Litigation Settlement at the

confirmation hearing and final approval by this Court as soon thereafter as is practicable.

         WHEREFORE, for the reasons set forth herein and the Stipulation, the Debtors respectfully

request that the Court enter the Proposed Order approving the Stipulation at the convenience of the

Court.



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                                                  3
             Case 23-10831-MFW           Doc 947     Filed 02/02/24     Page 4 of 5




Dated: February 2, 2024
Wilmington, Delaware

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                                              4
Case 23-10831-MFW   Doc 947    Filed 02/02/24   Page 5 of 5




                      EXHIBIT A

                    (Proposed Order)
